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5    Attorneys for Plaintiff,
     STEPHANIE BENNETT
6

7

8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHANIE BENNETT                         Case No.: 14-cv-00055-JGB-SP
12                Plaintiff,                   NOTICE OF VOLUNTARY
13
                                               DISMISSAL WITH PREJUDICE
           vs.
14
     PERFORMANT RECOVERY, INC.;
15   and DOES 1 to 10, inclusive,
16                Defendants.
17         Pursuant to FRCP 41a(1), Plaintiff, STEPHANIE BENNETT, by and
18   through her attorneys, hereby voluntarily dismisses the above-entitled case with
19   prejudice.
20                                          RESPECTFULLY SUBMITTED,
21
       DATED: March 14, 2014               PRICE LAW GROUP APC
22
                                           By: /s/ G. Thomas Martin, III
23
                                                  G. Thomas Martin, III
24                                                 Attorney for Plaintiff
25



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                                NOTICE OF VOLUNTARY DISMISSAL
     Case 5:14-cv-00055-JGB-SP Document 7 Filed 03/14/14 Page 2 of 2 Page ID #:28




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2                             CERTIFICATE OF SERVICE
3
           I certify that a copy of this document was mailed or electronically delivered
4
     to the persons listed below:
5

6
     PERFORMANT RECOVERY, INC.
7    c/o CT CORPORATION SYSTEM
     818 W 7TH STREET
8
     LOS ANGELES CA 90017
9

10

11                                         By: /s/ G. Thomas Martin, III
                                                  G. Thomas Martin, III
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                               NOTICE OF VOLUNTARY DISMISSAL
